                  IN THE DISTRICT COURT OF THE UNITED STATES

                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
       vs.                                           )       Case Number: 10 CR 2602 BB
                                                     )
LUCAS PAEZ,                                          )
                                                     )
                      Defendant.                     )

                  MOTION TO WITHDRAW AS COUNSEL OF RECORD

       COME NOW, Robert J. Gorence of Gorence & Oliveros, P.C., and hereby moves to

withdraw as Counsel of Record in the captioned case. As grounds, therefore, counsel would

show the Court:

       1.      The attorney/client relationship has deteriorated to the point where Mr. Paez no

longer desires undersigned counsel to be his attorney.

       2.      To the best of undersigned counsel’s knowledge and belief, Mr. Paez does not

have substitute counsel at this time. Therefore, undersigned counsel attaches an Affidavit from

Mr. Paez stating his desire for the withdrawal.

       3.      AUSA Joel R. Meyers has been contacted and does not oppose this motion.

       4.      Withdrawal is permitted under these circumstances pursuant to Rule 16-116B(6),

Rules of Professional Conduct regarding terminating representation, in that other good cause for

withdrawal exists because the attorney/client relationship has deteriorated.

       5.      Defendant is currently in custody. He is incarcerated at the Sandoval County

Detention Center, 1100 Montoya Road, Bernalillo, NM 87004.
       6.      Should the Court allow defense counsel to withdraw, Defendant’s position in this

matter would neither be prejudiced nor compromised. Defendant is currently set for trial on

March 1, 2011.

       WHEREFORE, Defendant prays that the relief requested herein be granted and for such

other and further relief as the Court may deem just and proper.

                                                    Respectfully submitted,


                                                    Electronically filed: 01/31/11
                                                    ROBERT J. GORENCE
                                                    Gorence & Oliveros, P.C.
                                                    Attorney for Defendant
                                                    1305 Tijeras Avenue N.W.
                                                    Albuquerque, New Mexico 87102
                                                    (505) 244-0214
                                                    (505) 244-0888 (facsimile)

       I hereby certify that a true and accurate copy of the foregoing pleading was emailed to
counsel of record by CM/ECF this 31st day of January, 2011.



Electronically filed: 01/31/11
ROBERT J. GORENCE




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